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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JEFFERY TILSON,

   Plaintiff,

-vs-                                              CASE NO.: 8:17-CV-01328-SDM-AEP

CAPITAL ONE BANK (USA),
NATIONAL ASSOCIATION,

   Defendant.
                                       /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Jeffery Tilson, and the Defendant, Capital One Bank

(USA), National Association, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the Defendant

in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs

and expenses.

        Respectfully submitted this 31st day of August, 2017.

/s/Frank H. Kerney, III, Esquire                  /s/Joshua H. Threadcraft, Esquire
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2017, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Joshua H. Threadcraft, Esq., and

Megan Stephens, Esq., Burr & Forman LLP, 420 North 20th Street, Suite 3400, Birmingham,

AL       35203     (joshua.threadcraft@burr.com;     mstephens@burr.com;         jcarlin@burr.com;

lclay@burr.com).

                                              /s/Frank H. Kerney, III, Esquire
                                              Frank H. Kerney, III, Esquire
                                              Florida Bar #: 88672
